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                                                                          US DISTRICT COURT ED.N.Y.
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                                              ★ AUG 1 3 2018 ★
                                                   X


                                                                          BROOKLYN OFFICE
In The Matter Of,

FREDERICK M.OBERLANDER,an
attorney admitted to practice before this
                                                                 ORDER
Court,
                        Respondent.                              16-MC-2637



                                                     X




         This matter comes before the Committee on Grievances for the United States District
 Court for the Eastern District ofNew York to consider the imposition of discipline, pursuant to
 Rule 1.5(b)(5) ofthe Local Rules ofthe United States District Courts for the Southern and
 Eastern Districts of New York, against the respondent, Frederick M. Oberlander, an attorney
 admitted to the bar of this Court.' The Committee has considered the entire record, as well as the
 voluminous submissions by the respondent, Richard Lemer,and Professor Margaret Tarkington.^
 For the reasons discussed below,the Committee concludes that the respondent violated the
 following New York Rules ofProfessional Conduct(the "Rules");
    (1) Engaging in discourteous conduct(Rule 3.3(f)(2));
     (2) Engaging in illegal conduct(Rule 3.4(a)(6));
     (3) Violating the Rules of Professional Conduct(Rule 8.4(a));
     (4) Engaging in conduct prejudicial to the administration ofjustice(Rule 8.4(d)); and


   The Committee's findings on the charges against Richard Lerner, arising out ofthe same set offacts, are
  2 ThrrTsponrnt^suhmf^^^^^^^^^ 47 pages long. Lerner's response, upon which the
  includes a 42 page brief, a 107 page declaration and a supplemental affidavit. The respondent also r
  on a 119 page report and supplemental report by Professor Margeret Tarkington. The respondent a
  Lemer filed more than 3,300 pages of exhibits.
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   (5) Engaging in conduct that adversely reflects on the lawyer s fitness as a lawyer(Rule
        8.4(h)).

The Committee finds that the evidence does not support the charges with respect to Rules 3.1
and 3.2. The Committee defers its ruling on the charge that the respondent knowingly engaged
in illegal conduct in violation of Rule 3.4 by contravening court orders and disclosing sealed
 materials, because the respondent's conduct in connection with that charge is currently the
 subject of a criminal investigation. The Committee determines that the respondent s answer
 raises no issue requiring an evidentiary hearing,see Local Rule 1.5(d)(4), as the facts in the
 record underlying the Committee's findings are not in dispute.
        For the reasons that follow, the Committee concludes that a one year suspension from the
 practice oflaw in this Court is appropriate. At the conclusion ofthe criminal proceedings, the
 Committee will consider if additional discipline is necessary on the charge that the respondent
 knowingly engaged in illegal conduct in violation of Rule 3.4 by contravening court orders and
 disclosing sealed materials.

                                          BACKGROUND


         I.   Procedural History

         This matter comes before the Committee on a disciplinary complaint dated June 9,2014,
 which alleged that the respondent engaged "in a relentless campaign to extort a settlement... by
 publicly releasing documents that had been sealed by a federal court," and that in furtherance of
 that effort, the respondent "intentionally defied the orders ofthree differentjudges in the
 Southern and Eastern Districts as well as the Second Circuit, filed a slew offrivolous motions
 and lawsuits, and repeatedly accused the courts ofillegal and fraudulent conduct. (Oberlander
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ECF No. 1.)^ The Committee ordered the respondent to show cause why it should not impose
discipline pursuant to Local Rule 1.5, and charged the respondent with violations ofthe
following New York Rules ofProfessional Conduct:
             1. Rule 3.1,"by filing multiple frivolous appeals and bringing frivolous lawsuits,
                and asserting frivolous arguments at hearings."
           2. Rule 3.2,"by engaging in improper dilatory tactics."
             3. Rule 3.3,"by engaging in undignified and discourteous conduct toward the
                court."


             4. Rule 3.4,"by knowingly engaging in illegal conduct by contravening court orders,
                disclosing the Sealed materials, and attempting to obtain a settlement by
                threatening further illegal conduct."

             5. Rule 8.4(a),"by violating multiple Rules ofProfessional conduct."
             6. Rule 8.4(h),"by engaging in conduct that adversely reflects on his fitness as a
                 lawyer."

             7. Rule 8.4(d),"by engaging in conduct that is prejudicial to the administration of
                justice."

 (Oberlander ECF Nos. 2, 3.) The respondent filed his response on September 11,2017,and also
 adopted the representations, conclusions, and arguments in the report submitted by Professor
 Tarkington, as well as Richard Lemer's submissions in In re Lerner,No. 16-MC-2636.
 (Oberlander ECF No. 11.)

        Pursuant to Local Rule 1.5(a), the Committee appointed James Wicks,Esq.,to

 investigate the allegations against the respondent, to advise the Committee whether prosecution
 of disciplinary action is required, and, if directed, to prosecute grievance proceedings on behalf
 ofthe Committee. (Oberlander ECF No. 13.)




 3 Citations to "Oberlander ECF No. refer to documents on the docket in In re Oberlander, No. 16-
 MC-2637. Citations to "Leraer ECF No. refer to documents on the docket in In re Lerner,No. 16-
  MC-2636.
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      II.     Factual Background

        In 1998, Felix Sater was prosecuted for his involvement in a"pump-and-dump" securities
fraud and money laundering scheme. (See Lemer ECF No. 12-1.) On December 10,1998,Sater
 pleaded guilty before the Honorable I. Leo Glasser to an information charging him with violating
the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(c)("RICO"). As
 part ofbis plea, Sater entered into a cooperation agreement with the U.S. Attorney's Office for
 the Eastern District ofNew York. (See Lemer ECF No. 12-6.) Sater agreed to assist the
 government in its investigation into others allegedly involved in the securities fraud scheme.
 {See id at 2-3.)

         Because ofthe sensitive nature ofthe information Sater was providing,to the government
 and the potential danger to Sater's life if his identity were revealed, Judge Glasser sealed the
 action and its docket sheet. {See Lemer ECF No. 12-14; Lemer ECF No. 15-17 at 1-2.) The
 U.S. Attomey's Office issued a press release in March 2000 that announced Sater's conviction
 and the indictment of his co-defendants, but did not mention Sater's cooperation agreement with
 the government. {See Lemer ECF No. 12-7.)
         Sater continued to cooperate with the government for more than ten years. {See Lemer
  ECF No. 12-14.) On October 23,2009,he was sentenced and ordered to pay a $25,000 fine. {Id,
  at 24.) Sater's criminal case remained sealed. {Id.)
          In 2002, Saterjoined Bayrock Group LLC,a real estate development firm. {See Lemer
  ECF No. 13-2 H 22.) Jody Kriss was the Director ofFinance from 2003 to 2008, and Joshua


  4 Judge Glasser noted that even though a transcript ofthe December 10,1998 hearing in which Sater
  pleaded guilty was no longer available,"the inescapable conclusion" drawn from the docket is that given
  [Sater's] cooperation,the Government[had] made an oral application that the transcript ofthe proceeding
  be sealed, which the Court granted as essential to protect the safety of Sater and narrowly tailored to serve
  that interest." (ECF No. 15-17 at 1-2.)
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Bernstein was employed there from November 2006 to September 2008. (Lemer ECF No. 13-5
^ 12.) Kriss hired the respondent as his attorney in 2007, and introduced the respondent to
Bernstein. (See Lemer ECF No. 19 at 8.)

        During his employment at Bayrock, Bemstein maintained a hard drive that contained
copies of all Bayrock files from its servers. (Lemer ECF No, 13-10 at 100:4-7.) The files
included emails and documents that Sater had sent to his attomey in connection with the criminal
 proceedings before Judge Glasser, including his cooperation agreement, a United States
 Department of Justice financial statement dated December 10,1998,two proffer agreements, and
 a pre-sentence investigation report dated June 28,2004(collectively, the Sealed Materials ).
(See id at 8:9-20; 10:22-11:3.)

        Bemstein took the hard drive with him when Bayrock terminated him in September 2008.

(Id. at 100:10-14; see also Lemer ECF No. 13-5 at 8.) Bayrock instmcted Bemstein to retum all
 company property,including the hard drive, but Bemstein kept it and the Sealed Materials. (See
 Lemer ECF No. 13-10 at 100:10-14.)

        On or about March 1,2010, Bemstein handed the Sealed Materials to the respondent
 during a meeting at Bemstein's Manhattan apartment. (See id. at 10:2-11:3.) About two days
 later, Bemstein emailed the Sealed Materials,the criminal complaint from Sater's criminal
 proceeding, and a draft criminal information to the respondent. (Id. at 12:9-24.)
        In May 2010,the respondent filed a civil RICO complaint against Sater and 29 other
 defendants in the United States District Court for the Southem District ofNew York on behalf of
 Kriss and another Bayrock member, Michael Ejekam, alleging that Sater and his former business
 associates, through the operation of Bayrock,engaged in a RICO conspiracy involving tax
 evasion, money laundering, embezzlement, and fraud. (Lemer ECF No. 13-2.) The respondent
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attached portions ofthe Sealed Materials as exhibits to the complaint,including five pages from
the PSR,the proffer agreements, and the cooperation agreement. {See Lemer ECF No. 13-10 at
28:21-29:1.) The complaint also referred to information contained in the Sealed Materials,
including details about Sater's cooperation with the government against certain members of
organized crime.        ^.g., Lemer ECF No. 13-211196,212,218.) The case was originally
assigned to the Honorable Naomi Reice Buchwald.^ {See Kriss et al v. BayRock Group LLC et
 fl/.. No. lO-CV-3959,ECF No. 2.)

        On May 13,2010, Sater's counsel informed Judge Buchwald that the respondent had
 filed the complaint publicly, and that it had been uploaded by the online news service
 Courthouse News to its website.^ {See Lemer ECF No. 13-5 at 10.) That same day. Judge
 Buchwald ordered that"no further dissemination ofthe complaint and exhibits thereto or the
 sealed information contained therein be made pending further order ofthe Court. (Lemer ECF
 No. 13-3 at 1.) Judge Buchwald also directed that the respondent immediately inform any
 individuals who had received a copy ofthe complaint that they were not to disseminate the
 complaint or the Sealed Materials. {Id.) On May 14,2010,Judge Buchwald ordered that the
 complaint be sealed pending further order ofthe court, and directed the respondent to file a
 redacted version ofthe original complaint.^ (Lemer ECF No. 13-4 at 2.)
         On May 18,2010, by way of an order to show cause, Sater filed a motion for a
  preliminary injunction before Judge Glasser, requesting that the respondent and his clients be
  ordered to retum the Sealed Materials to Sater. (Lemer ECF No. 13-5.) Sater also requested a


  ^ The case was reassigned to the Honorable Lorna G. Schofield in March 2013. {See Kriss et al v.
  BayRock Group LLC et al.No. 10-CV-3959,ECF No.31)                                       i -3 ^ at i n ^
  6 The respondent had at this point retained an attorney, David Lewis. (Lemer ECF No. 13-5 at 10.)
    On March 1, 2018,the parties filed a stipulation of discontinuance with prejudice, dismssing the ac ion
  and all claims therein. {Kriss, et al v. Bayrock Group LLC, et al. No. 13-CV-3905,ECF No.5 .)
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hearing to determine how the respondent had obtained the materials, {Id. at 1.) On the same
day. Judge Glasser signed the order to show cause and issued a temporary restraining order
restraining the respondent and his clients from disseminating the Sealed Materials pending a
hearing on the motion. {Id. at 1-2.) The respondent hired Richard Lemer,then a partner at
Wilson,Elser, Moskowitz,Edelman & Dicker LLP,to represent him in connection with the
order to show cause before Judge Glasser. (Lemer EOF No. 19 at 10.)

        The hearing was originally scheduled for June 11, 2010. {See Lemer EOF No. 13-6.)
Lemer claimed there had been no prima facie showing that Sater had'protected the documents,
 a claim that Judge Glasser rejected. {Id. at 2:21-3:10,4:6-5:8.) The respondent requested an
 adjournment because he was not ready to proceed; he claimed that he thought the May 18th
 restraining order kept him from speaking to his clients, Kriss and Ejekam. {Id. at 5.24-7.13.)
 Judge Glasser found his argument"specious" and "nothing more than stalling," but adjoumed
 the hearing to June 14,2010.(M at 8:17-9:11.)

        At the June 14th hearing, Judge Glasser emphasized that Sater's case had been under seal
 since its inception,that the documents in the file stated explicitly that they were sealed, and that
 the respondent was aware that the documents were sealed. (Lemer EOF No. 13-9 at 5.12-6.19,
 8:1-4.) Lemer agreed with Judge Glasser that "there's an awful lot ofinformation in [Sater's]
 cooperation agreement which is very sensitive." {Id. at 8:10-13.) Judge Glasser found that
 attaching the Sealed Materials to the Southem District complaint
         was a disclosure ofinformation which was reckless and significantly endangered the life
         ofthe person to whom that information related and disturbed me no end because it
         behooved any lawyer—forgetting about a lawyer—anybody looking at a document which
         was clearly, clearly designed to be kept very confidential,to be very, very careful with
         not making that information and letting it float at large. I want to emphasize why it is
         that I have regarded and do regard this very seriously.
 {Id. at 11:12-21.) The hearing was adjoumed to June 21, 2010. {Id. at 15:6-11.)
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       At the June 21st hearing, the respondent testified that Bernstein gave him a copy ofthe
Sealed Materials on March 1,2010, and also emailed them to him,together with the Southern
District complaint and a draft criminal information,two days later. (Lemer ECF No. 13-10 at
IO'2-11:3,12:9-24.) At that point,the respondent knew that Bernstein had already been
terminated from Bayrock. (Id. at 24:6-7.) The respondent acknowledged alleging in the
Southern District complaint that the proffer agreements and the cooperation agreement"were
 sealed," but nevertheless refused to admit that he knew they were sealed.' (See Lemer ECF No.
 13-2 H 96; Lemer ECF No. 13-10 at 34:2-35:15.) The respondent also admitted seeing a 2007
 New York Times article reporting that Sater's criminal complaint remained under seal. (Lemer
 ECF No. 13-10 at 40:4-20.) He made no additional attempts to determine whether the
 documents he received from Bemstein or the case docket were subject to existing seal orders.
 (See Lemer ECF No. 13-10 at 39:17-24.)
         At several points,the respondent invoked what he called the "work product privilege,"
 (see, e.g., id. at 22:14-25,25:23-26:2), and refused to acknowledge that he knew that Bemstem
 retained the Sealed Materials after his termination from the company. (Id at 23:10-24:15.) He
 also refused to say whether he thought Bemstein stole the materials. (Id. at 24:12-15.) However,
 about three months before the June 21st hearing,the respondent heard Bemstein testify at his
  deposition that he had retained "thousands of emails" and "hundreds ofdocuments" from
  Bayrock after he was fired. (See Lemer ECF No. 13-5 at 8.)
         The respondent acknowledged sending the following email to Kriss' father, which he
  asked the elder Mr. Kriss to forward to Bayrock's General Counsel, Julius Schwarz:


  s He also acknowledged his awareness ofa Southem District rule directing that caution be e^ercired when
  filing information regarding an individual's cooperation with the government. (See Lemer ECF No. 1J-
  10 at 50:23-51:17,53:8-55:4, 70:21-72:4.)
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       I recommend you forward this to Julius with the comment from me that there are three
       alternatives here;
              (a) I file publicly today.
              (b) I file under seal today.
              (c) He arrange a tolling agreement with EVERY defendant but Nixon Peabody.
       I don't care how many people he has to get on the phone and how fast he has to work.
       He had years to give back the money and now it's over. He can get Brian Halberg to help
       him.                                                            .    ..       .   .
       I believe it's possible to get this in under seal if Bayrock joins majoint motion m part 1
       to seal the complaint pending a redaction agreement with the assigned judge but there are
        never any guarantees.

(Lemer ECF No. 13-10 at 47:3-20; Lemer ECF No. 13-5 at 9.)
        Sater also testified at the hearing. He said that he kept the Sealed Materials in a personal
file, labeled "Personal and Confidential," in a locked drawer in his desk. (Lemer ECF No. 13-10
 at 95:1-21.) He did not give the Sealed Materials to Bemstein, and had not scanned or asked
 anyone to scan the Sealed Materials. {Id. at 97:1-3,107.7-11.)
        Judge Glasser issued a permanent injunction prohibiting the dissemination ofthe PSR
 and its contents, and directed the respondent to retum the PSR to the U.S. Attomey's Office. {Id.
 at 88:2-4,91:25-92:7.) Judge Glasser extended the temporary restraining order with respect to
 the remaining sealed materials and requested additional briefing on several issues,including
 whether he had the authority to enjoin the dissemination ofthose documents. {Id. at 114:10-
 115:17.) Lemer stated that he and the respondent had "no objection to continuance ofthe TRO.
 {Id. at 112:9-10.) On July 9,2010,the respondent appealed this order, as well as the May 18th
 restraining order,to the Second Circuit. (Lemer ECF No. 13-12.)
         On July 16, 2010, as part of his response to the restraining order,the respondent filed a
 signed declaration in which he made the following accusations against Judge Glasser and the
 Eastem District ofNew York:

     • Judge Glasser presided over a "star chamber" that issued a "patently unconstitutional
         prior restraint TRO." (Lemer ECF No. 13-13^1.)
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   • Judge Glasser "unconstitutionally concealed] the docket and surreptitiously dispens[ed]
        whatever justice, or lack thereof, as the Court sees fit. (Jd. ^3.)
   • Judge Glasser "maintained a constitutionally illegal super-sealed docket system of private
        justice." {Id. H 9.)

    • "The court has concocted a system of private justice without public accountability. {Id.
        114.)

    • "This court... hides what it does, and no one can doubt the reason is pusillanimous
        fear." {Id. 111.)

    • "This court would dole out First Amendment protection only to ...favored speakers it
         fears are too big to gag." {Id.)

 The respondent vowed to move for "the unsealing ofevery secretly sealed docket in this court
 house." {Id. ^ 17.) He signaled his intent to ignore the court's orders, declaring I will not be
 silenced," and asserted that "there is nothing that the court can do to me." {Id. tH 4,6.) He
 concluded by analogizing Judge Glasser to Senator Joseph McCarthy,in language borrowed
 almost verbatim from Joseph Welch's famous castigation of McCarthy: "Tow have done enough.
  Have you no sense ofdecency, sir, at long last? Have you left no sense ofdecency? For the only
  threat to our Union is that a judicial system would self-justify and rationalize how it could ever
  dare operate in secret."^ {Id. H 20(emphasis in original).)
          On July 20,2010, Judge Glasser found that the respondent knew that the documents were
  sealed before he filed them publicly. (Lemer ECF No. 13-17 at 18:18-19:8.) Judge Glasser also
  found that Bernstein had obtained the documents wrongfully, and that the respondent had


  9 Lemer attached this submission to a declaration in opposition ofthe order to show cause before Judge
  Glasser. (S'eeECFNo. 13-15.)
                                                     10
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"documents which he knew or perhaps should have known may have been improperly obtained
 by Bemstein and passed onto him." {Id. at 18:18-22,20:13-14.) Judge Glasser asked for
 additional briefing:

        It may be that there is some ethical principle, which should have precluded Mr.
        Oberlander from using those documents. Because the sensitivity ofthose documents
        would have been apparent to any reasonable person, particularly one who is trained in the
        law ostensibly. So the question is, yes, something bad was done,soinething very bad and
         perhaps despicable by the use ofthose documents annexed to a complaint in the Southern
         District, in a civil case, but the question is what order was violated?
 {Id. at 20:15-24.)

        Judge Glasser directed the respondent to return the PSR—including all copies—and
 prohibited its dissemination. {Id at 26:1-27:1.) Despite Judge Glasser's explicit injunction in
 his previous ruling,the respondent had continued to maintain copies ofthe PSR,something that
 Lemer attempted to Justify by claiming that the order applied only to the "original" eopy ofthe
 PSR that the respondent obtained from Bemstein. {Id. at 15:2-16:7.) Judge Glasser issued a
  further TRO against the dissemination of any copies. {Id at 26:18-27:15.) Judge Glasser
  ordered additional briefing on the Sealed Materials, and extended the TRO pending his decision.
  {Id.) The respondent appealed Judge Glasser's July 20th oral order on August 9,2010. (Lemer
  ECFNo. 13-19.)

          On July 27,2010, with the respondent's consent, Judge Glasser extended the May 18th
  restraining order until August 3,2010. {U.S. v. Sater,No.98-CR-llOl,EOF No.43.) He
  extended it again, with the respondent's consent,to August 13,2010. {U.S. v. Sater,No.98-CR-
   1101, ECFNo. 178.)

          On August 12,2010,the parties formally stipulated to a standstill agreement, which the
   court so-ordered the same day. (Lemer EOF No. 13-20.) The agreement provided that pending a
   settlement or issuance of an order granting or denying requested relief, the respondent(and his
                                                     11
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 clients) could not disseminate the Sealed Materials or information contained therein, except for
 purposes of pending appeals. {Id. at 3.) The standstill agreement was supposed to end on
 September 27,2010, but the parties agreed to extend it until January 14,2011. (Lemer ECF No.
 13-20 at 5; U.S. v. Sater^ No.98-CR-l 101,ECF No.44.)
        In the meantime,the respondent continued to demand money from Sater and the other
 defendants in the Southern District action before Judge Buchwald, and threatened to disseminate
 the sealed information ifthe Southem District defendants did not agree to a monetary settlement.
 {See Lemer ECF No. 13-22, 13-24.) On October 18, 2010,the respondent wrote the following
 letter to Sater's counsel:

        [M]y clients are indifferent as to which Defendants write the checks, and if your client
        can get out ofthis without paying much,if anything, that's fine with them. They are also
         well aware that your client lacks the means to pay what is demanded, and thus are
         proposing he pay at least in very principal part with his cooperation, something he no
         doubt will understand.... [M]y clients...simply demand for [sic] what they are
         entitled to: one billion dimes.... At this time, plaintiffs will favorably consider settling
         the entirety of all claims known and unknown for their actual damages of
         $35,000,000,... It is the least amount which plaintiffs would be willing to accept for a
         quick settlement that avoids the dissemination.
 (Lemer ECF No. 13-22 at 6, n.3.)
         On November 9,2010,the respondent, on his own behalf and as counsel for Kriss and
  Ejekam,sent another letter to Sater's counsel terminating the standstill agreement effective
  November 16, 2010, and again threatening dissemination ofthe Sealed Materials:
         If you wish Mr. Sater's activities lawfully kept quiet to any extent, stand still, stop filing
          motions and get out ofthe way so Plaintiffs can try to resolve the case before everytWng
          uploads to PACER and goes public. The only way to try to prevent worldwide notonety
          will be a globally stipulated sealed confidentiality order accompanying a global
          settlement.




          If you don't stipulate I'll get it so ordered anyway because (as Judge Glasser himself
          pointed out)the issue of dissemination is moot, but you'll have wasted more time and be
          that much closer to the time when Judge Buchwald orders this public and your client
                                                    12
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       finds this on the front pages everywhere including New York,Iceland, Turkey, an
       Kazakhstan,and all the other plaintiffs worldwide,including Glitnir(which already
       knows ofthe EDNY criminal matter from public filings but not yet about your client),
       join the party.

       I can with confidence predict from the settlement discussions I've had tha^t all the
       defendants will be delighted to keep this quiet.... Ifthis case is not settled quicldy,it
       will surely go viral. If you obstruct a settlement instead of helping get there, eyerylhing
        will go public with clockwork inevitability. This is not a threat, it is mathematics. And it
        is certain.

        No power on this earth will much longer prevent as much lawful and legal worldwide
        dissemination ofthis Complaint and every document attached thereto or referenced
        therein as the public and press doing the dissemination think its va ue justifies. You
        already saw what Courthouse News thought ofit, and everything else I file about
        Bayrock,entirely without my or my clients' involvement. Only a stipulated sealed
        confidential settlement agreement Plaintiffs find acceptable, executed very soon,can stop
        that.




         Always remember,if1 can't settle this in time now, you will have brought this about by
         your decisions, taking the tactical nuclear device I filed in SONY and enhmcmg it
         Wond what even I could have, magnifying its yield to that ofa strategic thermonuclear
         weapon by dragging in EDNY and that disaster..,.
         Sign the litigation standstill and <ret out of the way. You have seven days to seek
         further relieffrom Judge Glasser. If you do,if you don't standstill, if you contmue to
         interfere with service or dissemination, if I see letters, motions, or anything else, I yall
         instruct counsel to seek emergency relief. And I'll get it. And you'll get the inevitable,
         concomitant global public news and media coverage ofeverything everywhere.


         Listen to me.I see legal ways out for your client which are in my cliente interests to
         facilitate. You won't see them. You need my help. Take it. Fast. Or Judge Buchwald will
         be presiding over World War III with coverage likely on the front page ofthe New York
         Law Journal.

  (Lemer ECF No. 13-24 at 1-2(emphasis in original).)
          At a February 14,2011 hearing before the Second Circuit,^® Lemer admitted that the
  respondent still had electronic copies ofthe PSR. (Lemer ECF No. 14-3 at 24:1-3.) The court

  '»In addition to appealing the June 21st and July 20th orders, the respondent filed a               ^
  mandamus directing the district court to make public the docket m Sater s criminal proceedings be
                                                       13
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 promptly issued a summary order temporarily enjoining the respondent and anyone acting m
 concert with him &om distributing publicly or revealing in any way documents or contents
 thereofsubject to sealing orders in the appellate proceedings or in any related proceedings before
 the Eastern and Southern Districts. (Lemer ECF No. 14-4.)
          The Second Circuit also directed ChiefJudge Raymond Dearie to assign a districtjudge
 "with the limited mandate ofimplementing and overseeing compliance with our orders and the
 orders previously entered by Judge Glasser." (W. at 3.) The Second Circuit noted,"Ofcourse,
 Judge Glasser, an experienced and able jurist who has shown admirable patience and forbearance
 in the face of extraordinary provocations, shall retain jurisdiction over the underlying(and long-
 lived) criminal proceeding involving [Sater]." {Id.) Judge Dearie referred the case to the
 Honorable Brian M.Cogan to enforce the Second Circuit's and the Eastern District s prior
  orders. (Lemer ECF No. 14-5.)

          On March 17,2011, after the U.S. Attomey's Office for the Eastern District ofNew York
  disclosed Sater's criminal conviction in a press release, the government moved to unseal the
  docket entries and documents in Sater's criminal proceeding that did not refer to Sater's
  cooperation with the government. (Lemer ECF No. 14-6 at 1, 5-7.) In a March 23,2011 order.
  Judge Glasser directed the respondent and Sater "to briefthe issue ofthe Court sjurisdiction,
  and found that the respondent had "knowingly and intentionally flouted a Court order by
  "unilaterally deciding" to disclose information in Sater's sealed criminal proceedings. (Lemer
  ECF No. 14-7 at 4.) The respondent appealed this order on April 14,2011. (Lemer ECF No. 14-
   17.)




   Judge Glasser. (Lemer ECF No. 14-1.) The government cross-moved for a temporary injunction,
   pending the disposition ofthe respondent's appeals,to restrain the respondent and Lemer from
   threatening /iic'o«atT»inatinn
               dissemination of   nf the
                                     tlift Sealed
                                           Sealed Materials.
                                                  Materials. (Ss6
                                                             (See Lerner ECF No. 14-4 at 1.)
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        Notwithstanding the Second Circuit's February 14th Summary Order,the respondent
requested clarification from Judge Cogan about the extent to which he was permitted to
 disseminate certain information contained in the Sealed Materials, on the theory that the
 information was public knowledge. (See Lemer EOF No. 14-9 at 7:9-13.) Judge Cogan held a
 hearing on April 1,2011. (See id. at 1.) The respondent revealed that he had still not destroyed
 or returned electronic and paper copies ofthe original PSR and other Sealed Matenals,in
 violationof Judge Glasser's July 20th order. (See id at 11:5-12:5.) Judge Cogan rejected the
 respondent's argument that Judge Glasser had not actually ordered the respondent to destroy or
 return copies. "No,it's absolutely clear on its face Judge Glasser intended you to destroy
 electronic copies and to return any photocopies. (Id. at 14.3-5.)
        By oral order and subsequent written order on April 4,2011,Judge Cogan directed the
 respondent to destroy or return any remaining electronic or paper copies ofthe PSR and other
  Sealed Materials, without prejudice to his ability to get access to the documents ifthe Second
  Circuit vacated any ofthe various sealing orders. (See id at 15:1-2; Lemer ECF No. 14-10.)
  Although he did not impose sanctions. Judge Cogan noted that "[i]t was plainly the intent of
  Judge Glasser to have [the Sealed Materials] destroyed or retimed." (Lemer ECF No. 14-10.)
  The respondent appealed Judge Cogan's orders on April 5,2011. (Lemer ECF No. 14-14.)
          On May 13,2011,Judge Cogan issued an additional written order denying the
  respondent's March 1st request to release the following information from the Sealed Materials:
  (1)Sater's identity in connection with the criminal proceedings;(2)the nature ofthe predicate
  acts underlying Sater's RICO conviction; and(3)Sater's sentence ofprobation and $25,000 fine.
  (Lemer ECF No. 14-21 at 3-4.) Judge Cogan observed that he had opined at the April 1st
   hearing that information "available to the public" was not covered by the Second Circuit's

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injunction, but had ruled that the respondent could not"extrapolat[e] from sealed documents...
[which]could easily be combined with and thereby tainted by [the respondentj's knowledge of
non-public, sealed information."(M at 2.) Judge Cogan reviewed the specific information that
the respondent requested to release, and concluded that "[i]t seems obvious that[the respondent]
 is seeking to fatally undermine the purpose ofthe injunctions by publishing information that
 would render them ineffective." (Jd. at 4.) The respondent appealed Judge Cogan's May 13th
 order on June 10,2011. (Lemer ECF No. 14-24.)
         On June 29,2011,the Second Circuit issued a summary order on the respondent's six
 appeals. (Lemer ECF No. 14-27.) The court affirmed Judge Glasser's permanent injunction
 against dissemination ofthe PSR,and remanded that portion ofthe appeal that dealt with the
 other sealed documents to Judge Glasser for a final determination. {Id. at 1-2,6.) The court
 observed that"the PSR is of dubious utility in the civil case except as a tool to intimidate and
  harass[Sater] by subjecting him to danger. Accordingly and in sum,disclosure ofthe report is
  not required to meet the ends ofjustice-indeed quite the opposite." {Id at 5(internal citation
  omitted).) The court warned the respondent"that the Court's patience has been exhausted by his
  filing ofsix separate notices ofappeal regarding the same principal legal dispute-including the
  filing ofan appeal from a March 23,2011 scheduling order that obviously was not a final order
   nor subject to any ofthe exceptions in the 'finaljudgment rule.'" {Id at 2,6.) The court further
   ordered that"any further attempts to re-litigate the issues decided by this order,or other future
   filings of a frivolous nature, may result in sanctions.... {Id.)
         On February 5,2012,the New York Times published an article entitled"By Revealing
   Man's Past, Lawyer Tests Court Secrecy," in which the respondent revealed his identity and


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posed for aphotograph with Lemer.^^             v. 5ar.r,No. 98-CR-llOl,ECFNo. 132-1.) Sateris
identified in the article only as John Doe "[b]ecause of safety concerns raised in the case." {Id. at
 2.) The article described the "secretive chaos"following the respondent's filing ofthe Southern
 District complaint,referring to, among other events. Judge Buchwald's order, Judge Glasser's
 hearings and orders, and the Second Circuit's review and orders. {Id.) The respondent was
 quoted as saying that Sater's former employee told the respondent to make the Sealed Materials
 public. {Id.) The respondent told the author that the court had kept Sater's criminal record a
 secret, and had prevented his victims from obtaining restitution. {Id. at 3.) The article also
 quotes a member ofthe respondent's legal team,Paul Cassell, who lauded the respondent for
 "challenging the power and ability ofthe courts to run a secret criminal docket. {Id. at 3.)
         On February 10,2012, Sater's counsel moved by order to show cause for civil contempt
 against the respondent and Lemer on the grounds that the respondent violated the Second
  Circuit's February 14,2011 order by revealing his identity in the article. (Lemer ECF No. 15-3.)
  Judge Cogan signed the order to show cause, and scheduled a hearing for Febmary 27,2012.
 (Lemer ECF No. 15-4.)

         The respondent and Lemer filed a motion to quash or vacate the order to show cause.
 (Lemer ECF No. 15-5.) In their motion papers,the respondent and Lemer made the following
  charges:

     • "Judge Glasser and the Second Circuit have ... hid[den] an entire covertjustice system
          operation devoid of constitutional legitimacy." {Id. at 9.)

     • The Second Circuit's orders were issued to conceal "systemic judicial and executive
          branch lawlessness" amounting to "sedition" and "such sedition constituting high crimes

    The respondent's name had been substituted with Richard Roe in public filings and transcripts. {U.S. v.
  Sater,^o. 98-CR-llOl, ECFNo. 132-1 at 1.)
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       and misdemeanors,including the conspiracy to and actual accomplishment ofthe
       falsification ofjudicial records    " {Id. at 8.)

  . Someone named Salvatore Gieoeli was "publishing online allegations that the Eastern
    District makes illegal deals with cooperators which,inter alia, unlawfully evade
        restitution ...   {Id. at 12.)

   « "Judge Glasser's long dead and illegally empty docket,is simply unsustainable as
     anything other than participation in the conspiracy ofsecret courts." {Id. at 15.)
   . Judge Cogan's signing ofthe order to show cause was "illegal and unlawful." {Id. at 3.)
   . Judge Cogan maintained an "inaccurate docket" in a totally unrelated matter and should
        recuse himself"from further involvement." {Id at 4.)

   . The Eastern District has taken"unlawful, and unethical measures" to cover up "illegal
         sentencing schemes." {Id.)

          At the February 27,2012 hearing. Judge Cogan announced that he was refemng the
  matter to the U.S. Attomey's Office to determine whether to prosecute Lemer and the respondent
  for criminal contempt.'^ (Lemer EOF No. 15-6 at 9:20-25.) The U.S. Attomey's Office for the
  Eastem District recused itself and referred the matter to the U.S. Attomey's Office for the
  Northern District ofNew York. (Lemer EOF No. 15-7.) That investigation is ongoing.
          In May 2012,the respondent petitioned the United States Supreme Court for a writ of
  certiorari to review the Second Circuit's February 14,2011 order. (Lemer ECF No. 15-9.) The
  respondent filed the petition under seal but moved that the petition be made available in redacted
  form. (Lemer ECF No. 15-8.) On June 25,2012,the Supreme Court granted the respondent's

     The respondent announced at the hearing that he was representing Lemer,and had gotten himself
   admitted to the Eastem District that same morning. (Lemer ECF No. 15-6 at 5.13 .)
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motion,and ordered that Sater's name be redacted in the publicly available petition. {See Lemer
ECF No. 19 at 32-33.) The respondent filed the redacted petition publicly in July 2012. {See id.
at 33.) On July 31,2012,the Miami Herald published an article entitled "High court reveals
 secret deal ofTrump developer's crimes;" the article named Sater, and appeared to reference
 information that had been redacted from the publicly filed petition. {Id. at 33-34.)
        At some point in 2009,the docket sheet for Sater's criminal proceedings was
 inadvertently unsealed for several days and then re-sealed. {See Lemer ECF No. 15-17 at 3.).
 On August 27,2012,Judge Glasser unsealed the docket sheet, but not the underlying documents,
 for Sater's criminal proceedings, because the sealed information had already been revealed
 publicly. {Id. at 5-6.) Judge Glasser explained that continued sealing ofthe docket sheet would
 be futile because "[t]he cat is out ofthe bag,the genie is out ofthe bottle." {Id. at 5,6.)
 However,Judge Glasser ordered that the details of Sater's cooperation with the government,
 which had not been made public,remain sealed to protect Sater and maintain the secrecy ofthe
  government's"significant clandestine investigative activities." (Lemer ECF No. 16-2 at 6-12.)
         Lemer and the respondent filed a 742 page "Request for Judicial Notice" on October 23,
  2012. {See ECF No. 15-19.) On November 13,2012,Judge Glasser ordered the respondent and
  Lemer to show cause why they should not be sanetioned for making a"vexatious" and
  "oppressive" filing that had "no relevance to the very discrete issue pending before the Court."
  (Lemer ECF No. 15-21 at 3-4.)
          On November 19,2012,the respondent moved that Judge Glasser be disqualified; he
   asserted, among other things,that Judge Glasser,the U.S. Attomey's Office, and Sater's counsel
   were part ofa "criminal conspiracy"to conceal Sater's convietion. {See Lemer ECF No. 15-22
   at 2.) His motion included the following charges:

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            Judge Glasser "failed to disqualify [himself] despite Congressional mandate [he]
            do so because of, respectively,[his] appearance of bias and lack of impartiality,
            palpably obvious to, let alone reasonably questioned by, an objective,informed
            observer...     {Id.)

            Judge Glasser was involved in a"criminal conspiracy with... Sater's lawyers
            to deprive the respondent and his clients oftheir rights. {Id. (emphasis in
            original).)

            "If it had been up to this court, no one would ever have know [sic] of the
             criminal corruption of the probation officer and DOJ... because this court
             gagged us from telling anyone without even hearing any argument as to prior
             restraint, core speech,or anything else. The First Amendment simply didn't
             exist in Brooidyn for this court." {Id. at 5(emphasis in original).)
             "[l]fthe court look [sic] carefully it will find—wait for it—that in 2008, Sater
             funded what we'll call an *EDNY Special' family trust for, you guessed it, his
             wife and children by transferring his membership interests in Bayrock to the trust,
             which then flipped it right back to Bayrock for approximately $1,500,000; why be
             surprised, hiding wealth in trusts is the 'thing to do' among EDNY felons who
              want to evade all responsibility to their victims." {Id at 6.)
           p "Attached hereto is the email cover letter from [Sater's attorneys] which
              says,in a nutshell, Mr.Oberlander, Mr.Lerner,take this offer, because this
              is rigged, don't you know if Judge Glasser ever does hold a hearing to decide
              whether to unseal any of the documents, he will ignore all your arguments.



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               appeals,and evidence. You're doing exactly that, aren't you. Aren't you." (Id.
               at 10(emphasis in original).)

          • "Perhaps [Sater's attorneys] reached such an agreement with you to throw the
            case against us in one ofthe many secret ex parte proceedings we've just found
                out about. Perhaps they didn't. It doesn't matter, because if you wish to testify
                they did not, you are a fact witness and offthe bench. {Id.)
          . "[N]o sane person ... would believe anything other than the apparent possibility
                of this court's active, collusive criminal participation in what our coming
                amendment hereto will detail more fully is enterprise corruption, including its
                cover-up,the only question how far and to what extent it suffuses the Eastern
                District and the former AUSA's there now in private practice. That's the test,
                whether there is apparent corruption based bias. Fail on that." {Id.(emphasis in
                 original).)

             • "That's the smoking gun which completes the portrait ofa court apparently
                 engaged in secret and collusive deals with Sater's lawyers to,just as they said,
                 ignore all our argument,evidence, and appeals exactly the way it is doing,de
                 facto, in terrorem, and de jure. That's the cause for you to step down.
                 Forthwith." (Id. at 14(emphasis in original).)

         On December 13,2012,the respondent and Lemer filed a supplemental submission in
  response to Judge Glasser's November 19th order to show cause,including the following
  charges:

              • "[W]e are building a record to show the U.S. Supreme Court that this court
                  allowed Sater's crimes to be hidden from the general public and how it did so—

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              and thereby allowed (indeed, emboldening) him to go forth and continue
              defrauding the general public in what must be called judicially created danger."
              (LemerECFNo. 15-23 at 7.)

          • "Even were we to confine ourselves to 'normal' sealing,this circuit long ago gave
               its backhand to the Constitution and concomitant requirements of'normal' sealing
               in organized crime cases, and the Eastern District hasjust taken it farther into the
               realms oflawlessness than anything we had dared to imagine. And we mean
               lawlessness." {Id. at 12.)

           < "As to the sealing and closure, this hit its nadir(we hardly call it a zenith) of
               lawlessness with the Second Circuit's decision... wherein the court
               circumvented ...the entire ...line ofconstitutional access jurisprudence." (Id.
               at 13.)

           • "And it appears to be the culture ofthe district to not recognize the public s
                rights...." {Id. at 13-14.)

           • Judge Glasser committed "grave judicial conduct" in the supposed "abuse of
                sealing "to notjust conceal, but embolden,crime. (Id. at 15.)
           . "Perhaps—hypothetically of course—the secret papers this court is concealing
                reveal that Sater tumed down WITSEC or other protection or relocation for a long
                time,even recently. Why then would this allow him to perpetrate concealment
                ftaud,and why would the court allow any such concealment fraud to continue?
                {Id. at 26.)

         The respondent and Lemer filed two new actions in 2013. (Lemer ECF Nos. 16-4, 16-6.)
  In the first action. Estate ofErnest Gottdiener, et al. v. Sater, et a/., No. 13-CV-1824(LGS)

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(S.D.N.Y.),filed in March 2013,the respondent and Lemer alleged RICO violations
specifically,that the respondent and other plaintiffs had been defrauded because Sater's criminal
case had been sealed illegally. (See Lemer EOF No. 16-4 at 5.) Judge Schofield granted Sater's
motion to dismiss the action on March 19,2014,(Lemer EOF No. 16-10),a decision that the
 Second Circuit affirmed. (Lemer ECF No. 17-6).
         The respondent and Lemer filed the second action, Kriss, et al. v. Bayrock Group LLC. et
 ai. No. 13-CV-3905(LGS)(S.D.N.Y.)," in May 2013,and named the following individuals and
 entities as defendants; Sater's attomeys; one ofthe prosecutors in Sater's criminal case;law
 firms,including Merman Senterfitt, Duval & Stachenfeld,Nixon Peabody, Satterlee Stephens
 Burke & Burke,and Morgan Lewis & Bockius; and Donald Trump,Ivanka Trump,and"Trump
  Does" 1-100,among others. (Lemer ECF No. 16-6 at 1.) The complaint accused these parties of
  participating in a massive civil RICO conspiracy and sought $1 billion in damages. (See id. at 2-
  4.) The respondent asserted more than 25 claims,including fraud, negligence, breach of
  fiduciary duty, defamation, breach ofcontract, unjust enrichment,interference with contract, and
  malicious prosecution. (Id. at 4.) The plaintiffs voluntarily dismissed the action on June 23,
  2015. (Kriss, et al. v. Bayrock Group LLC, et al, No. 13-CV-3905,ECF No. 124.)
         On May 17,2013,Sater's counsel filed an order to show cause seeking to hold the
  respondent and Lemer in civil contempt ofthe Second Circuit's December 20,2011 Mandate
  (the June 29,2011 Summary Order)for filing the Gottdiener and Kriss actions in 2013. (See
   Lemer ECF No. 16-7 at 1.) On May 28,2013,Judge Cogan denied the motion,finding that
   while the Second Circuit wamed the respondent and Lemer against"filing additional lawsuits in
   O The respondent initially filed the action in the        ^

   etal. No. 13-CV-3905,ECF No. 1.)
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an attempt to re-litigate issues decided by its order, or other future filings ofa frivolous nature,"
the Second Circuit did not prohibit such filings.''' (Lemer ECF No. 16-7 at 2.)
        On June 9,2014,Sater's counsel filed this disciplinary complaint against the respondent,
alleging,among other things,that the respondent"engag[ed]in a relentless campaign to extort a
settlement from Safer and others by publicly releasing documents that had been sealed by a
 federal court to protect Safer from life-threatening danger." (Oberlander ECF No. 1 at 1.) The
 complaint further alleges that the respondent"intentionally defied the orders ofthree different
 judges in the Southern and Eastern Districts as well as the Second Circuit,filed a slew of
 frivolous motions and lawsuits, and repeatedly accused the courts of illegal and fraudulent
 conduct." {Id)
                                             DISCUSSION


         The Committee issued an order to show cause charging the respondent with violations of
 Rules 3.1,3.2, 3.3,3.4,8.4(a), 8.4(d), and 8.4(h)ofthe New York Rules ofProfessional
 Conduct. The respondent submitted a 47 page,single-spaced response, the majority of which



    In a 2016 filing styled a motion to"Request the Resignation ofthe 'Special Master,'" Lemer made the
  following accusations;                                                   ,       ,        «        u
     . The Second Circuit's statement that it had undertaken an independent review was an obvious
          fabrication." (Lemer ECF No. 17-15 at 7 n.l.)                                         r-
     . Judge Glasser "directed the falsification of[a]transcript" by directing that Sater be referred to as
          "John Doe."(M 1131.)
     . Judge Glasser made an improper attempt to influence the Supreme Court {Id 135.)
      • Judge Glasser violated "the canons ofattomey and judicial ethics. (/i/. )|48.)
     . Judge Glasser, Judge Cogan,and the Second Circuitjudges have kept a regime ofsecrecy, on y
        backing off when faced with media scrutiny." {Id. TI57.)
      • "[Tlhe Second Circuit has ratified the U.S. Attorney's fraud."
      . The Second Circuit"falsified" and "misrepresented" the record. {Id H 69.)
      . Judge Cogan issued "a never-ending stream of unconstitutional orders,first to shut Oberla
        and Lemer up,then to punish them for having legally revealed the tmth. {Id 172.)
      . Judge Cogan pressured the U.S. Attomey's Office into investigating the respondent and Lemer.
          (/rf.197.)
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does not address the specific facts ofthe charges.'^ (See Oberlander ECF No. 11.) The portion
ofthe response that addresses the charges appears to argue that the Sealed Materials were not
really sealed, and that this Court has treated him unfairly. He asserts that"the entire weight of
the Eastern District has come down on [his] head and Mr. Lemer's," and that any claim by the
Eastern District that Sater's sentencing was not held in open court would "be a defacto
admission ofa conspiracy to defraud the Supreme Court." (Oberlander ECF No. 11 at 13.) He
also relies on Lemer's defenses, which include a statute oflimitations defense, a challenge to the
Committee's jurisdiction, and a First Amendment defense. (Oberlander ECF No. 11 at 7;see
 also Lemer ECF No.20 at 23-25.)

        In accordance with the applicable legal standard and for the reasons set forth below,the
 Committee finds that the respondent violated Rules 3.3(f)(2), 3.4(a)(6), 8.4(a), 8.4(d), and 8.4(h),
 and that the evidence does not support violations ofRules 3.1 or 3.2. The Committee defers its
 mling on the Rule 3.4 charge that the respondent knowingly engaged in illegal conduct by
 contravening court orders and disclosing sealed materials pending the outcome ofthe criminal
 proceedings.

           I.    Legal Standard

         The Committee is authorized to discipline an attorney if, after notice and opportunity to
 respond, it finds by clear and convincing evidence that "[i]n connection with activities with this
 court," the attorney "engaged in conduct violative ofthe New York State Rules ofProfessional
  Conduct as adopted from time to time by the Appellate Divisions ofthe State ofNew York."
  Local Rule 1.5(b)(5). Discipline "may consist of a letter ofreprimand or admonition,censure.



    For example,the respondent devotes a substantial part of his submission to discussions ofthe Socratic
  method and a wrongful death case from the 1950s. (See Oberlander ECF No. at 15-40.)
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suspension,or an order striking the name ofthe attomey from the roll ofattorneys admitted to
the bar of this Court." Local Rule 1.5(c)(1).

        11.    Procedural Defenses

                   A. Statutes ofLimitations

        The respondent adopts Lemer's claim that the Committee cannot discipline him for
 conduct that occurred before November 18,2011,because ofthe five-year statute oflimitations
 under 28 U.S.C. § 2462. (Lemer EOF No.20 at 24-25.) Statutes oflimitations do not apply to
 grievance proceedings before this Committee,so the Committee rejects this defense.
                           1. Statute ofLimitations under 28 U.S.C §2462
        Section 2462 of Title 28 ofthe U.S. Code provides in relevant part: "Except as otherwise
 provided by Act ofCongress, an action, suit or proceeding for the enforcement of any civil fine,
 penalty,or forfeiture, pecuniary or otherwise,shall not be entertained unless commenced within
 five years from the date when the claim first accrued...." It is well-settled that § 2462"applies
 only to actions brought by the United States" and qui tarn actions in which there is no express
 limitations period. U.S. v. Incorporated Village ofIsland Park,791 F. Supp. 354,367(E.D.N.Y.
 1992)(quoting Bertha Bldg. Corp. v. Nat'l Theatres Corp.,269 F.2d 785,788-89(2d Cir. 1959),
  cert, denied, 361 U.S.960(I960)); see also 3BA Properties LLC v. Claunch,No. 13-CV-979,
  2013 WL 6000065(W.D. Wash.2013)(rejecting the contention that § 2462 applies to an action
  sounding in tort because § 2462"applies only to actions on behalfofthe United States and qui
  tam actions"(intemal quotations and citation omitted)). This"catch-all" statute oflimitations is
  generally applied only in proceedings involving federal agencies, like the Secunties and
  Exchange Commission(e.g., Kokech v. SEC,137 S. Ct. 1635(2017);SEC v. Straub,2016 WL
  5793398(S.D.N.Y. 2016)),the Environmental Protection Agency (e.g.,3MCo. v. Browner, 17

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F.3d 1453(D.C. Cir. 1994)), and the United States Patent and Trademark Office (e.g.,Sheinbein
V. Dudas,465 F.3d 493(Fed. Cir. 2006)).
        The Committee has not fotmd, and the respondent has not cited, a single reported case m
which a federal district court grievance committee applied 28 U.S.C. § 2462 to an original
attomey disciplinary proceeding.'®
                            2. Statute ofLimitations under New York Law

        The Local Rules provide that"in the absence of binding authority from the United States
 Supreme Court or the United States Court of Appeals for the Second Circuit,this Court, m the
 interests ofcomity and predictability, will give due regard to decisions ofthe New York Court of
 Appeals and other New York State courts, absent significant federal interests." Local Rule
 1.5(b);see also Bertha Bldg.,269 F.2d at 788-89("In the absence ofan applicable federal statute
 oflimitations, federal courts look to the statute ofthe forum. ).
         In New York,statutes of limitations do not apply to attomey disciplinary proceedings.
 Matter ofO'Hara,408 N.Y.S.2d 70(1st Dep't 1978);In re Mix,292 N.Y.S. 502(4th Dep't
 1937),rev'd on other grounds,274 N.Y. 183,8 N.E.2d 328(1937);In re Cohalan,271 N.Y.S.

           dies Sheinbein V. Dudas,465 F.3d 493(Fed. Cir. 2006),a reciprocalf
  aeainst an attomey licensed to practice before the United States Patent and Trademark Office( USPTO ).
  But Sheinbein does not stand for the proposition that § 2462 applies to attomey disc.phna^
  in the federal courts. The Administrative Law Judge before whom the action was brought a^umed that
  § 2462 applied to the disciplinaiy proceeding before it, but the Federal Circuit, m rejecting Sheinbe
  LgumenC made clear that it was not deciding that 28 U.S.C.§ 2462 applied to P^^^^mg. f«
  Sheinbein v Dudas,No.05-CV-1460,2005 U.S. Dist. LEXIS 43603, 4(D.D.C.2005( The AU .^.
  determined that the complaint had been timely filed within the five-year statute of
  28 U S C.§ 2462,ifindeed§2462 actually applied to the proceeding (emphasis added)). Ofcourse,
  even'ifthe five-year statute of limitations applied to attomey disciplinary proceedings before fte
  c—ee-and it does not-the statute oflimitations would                   from the comm.sio^^
  wrongful act" under the continuing violation doctrine Leonl^dv. U.S 633 F_2d 599,613(2d .
  1980V see also Joshory v. New York State Dep't ofEduc., 131 F.3d 326,331-32(2d Cir. 1997). 1
  respondent's alleged violations continue until at least May 2013,so even under the respondent s theory,
  this action would be timely.


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76(1st Dep't 1934);In re Simpkins, 155 N.Y.S. 521 (1st Dep't 1915). The American Bar
Association Model Rules for Disciplinary Enforcement apply the same principle: "Statutes of
limitation are wholly inappropriate in lawyer disciplinary proceedings[because][c]onduct ofa
lawyer,no matter when it has occurred,is always relevant to the question offitness to practice."
ABA Model Rules for Disciplinary Enforcement, Rule 18, Commentary; Rule 32, Commentary
("Disciplin[ary]...proceedings serve to protect the public from lawyers who are unfit to
 practice; they measure the lawyer's qualifications in light ofcertain conduct,rather than pumsh
for specific transgressions. Misconduct by a lawyer whenever it occurs reflects upon the
 lawyer's fitness.").

         Accordingly,the Committee concludes that neither 28 U.S.C. § 2462 nor any New York
 statute oflimitations apply to this proceeding. Thus,the Committee considers all allegations
 against the respondent, regardless of when the underlying events occurred.
                    B. Jurisdiction over Actions in Other Tribunals

         The respondent also adopts Lemer's argument that the Committee is limited to
 considering his behavior in the Eastern District, and cannot consider his conduct before other
 tribunals, including the Southern District ofNew York and the Second Circuit, because it did not
 occur "[i]n connection with activities in this Court." See Loeal Rule 1.5(b)(5). Local Rule
 1.5(b)(5), which govems attorney diseiplinary proceedings in this Court and the Southern
  District, authorizes the Committee to discipline an attorney after the attorney is given notice and
  an opportunity to respond,if it is found by clear and convincing evidence that,"[i]n connection
  with activities in this Court, any attomey is found to have engaged in conduct violative ofthe
  New York State Rules of Professional Conduct         "



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       The respondent provides no authority for the proposition that Local Rule 1.5(b)(5) bars
the Committee's consideration ofconduct that occurred outside the Eastern District. Indeed, it is
firmly established that the power to discipline attorneys is inherent m all federal courts and that
"[t]his power reaches both conduct before the court and that beyond the court s confines.
Chaffibets v. NASCO,Inc., 501 U.S. 32,43-44(1991).

        All ofthe charged violations occurred in or arose out ofproceedings in this District. The
respondent is charged with: (i) violating Judge Glasser's original sealing order by filing the
Southern District complaint with the Sealed Materials attached as exhibits;(ii) disseminating and
threatening to disseminate the Sealed Materials;(iii) violating Judge Glasser's July 20,2010
order; and(iv) making baseless and disrespectful accusations against Judge Glasser, Judge
 Cogan,the entire Eastern District, and the Second Circuit. Furthermore,all ofthe respondent's
 conduct in the Southern District and Second Circuit is intimately connected to and arose out of
 the proceedings in this District.
         Accordingly,the Committee has jurisdiction over the respondent's conduct.
         III.    Merits of the Charges

                    A. Frivolous Conduct(Rule 3.1)

         Rule 3.1 establishes the framework for professional discipline when an attorney asserts a
 meritless claim or contention. In re Brizinova, 565 B.R.488,499(E.D.N.Y. 2017). In this
 context,"frivolous conduct includes circumstances'where the lawyer knowingly advances a
  claim ,..that is unwarranted under existing law.'" Pullman v. Alpha Media Publ'g, Inc., 2012
  WL 3114939, at *4(S.D.N.Y. Jul. 31,2012)(quoting Rule 3.1).
          The Committee considers whether the respondent violated Rule 3.1 by filing the
  Gottdeiner and Kriss actions in 2013,filing six separate notices of appeal about the same

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principal legal dispute, and filing an appeal from Judge Glasser's March 23,2011 scheduling
order, which was neither final nor subject to any exceptions to the finaljudgment rule.
       The respondent argues that he had a good faith basis to believe that the Gottdeiner and
Kriss actions filed in 2013 had merit, even though plaintiffs did not prevail in either action. The
respondent also adopts Lemer's argument that he had "what[he] believed at the time was a
rational, reasonable and good-faith basis to believe that [the March 23,2011] order was subject
to appeal     "(Lemer ECF No. 18 H 123.)
        The Committee concludes that the evidence is insufficient to conclude that the filings
violated Rule 3.1. While the judges before whom the respondent made the various filings
observed that the respondent intentionally flouted and ignored court orders, and some threatened
to sanction the respondent, none ofthe judges actually did sanction him for filing frivolous law
 suits or appeals.     e.g.. Chambers,501 U.S. at 43 (courts have the inherent power to
 supervise and control their own proceedings and to sanction counsel or a litigant for bad-faith
 conduct); 28 U.S.C. § 1927;see also Matter ofNeroni,20 N.Y.S.3d 496(4th Dep't 2015)
 (imposing discipline pursuant to Rule 3.1 where monetary sanctions had already been imposed in
 underlying matters due to fnvolous conduct); Matter ofGurvey,958 N.Y.S.2d 5(1st Dep t
 2012). At both the district and circuit levels,the courts had the power to sanction the respondent
 for frivolous conduct but did not do so.

         Without clear and convincing evidence ofimproper purpose or that the pleading was
 frivolous, it cannot be said that the respondent violated Rule 3.1. S'ee Sorenson v. Wolfson,683
 Fed. App'x 33,2017 U.S. App. LEXIS 4591, at *2,6(2d Cir. 2017)(affirming the trial court's
  decision not to impose sanctions for allegedly frivolous conduct under Rule 11,28 U.S.C.
  § 1927,and the court's inherent powers because it was neither "patently clear that [the] claim

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ha[d] absolutely no chance ofsuccess under the existing precedents" nor was there"a finding of
conduct constituting or akin to bad faith"); Ctr. For Discovery, Inc. v. DP.,2017 U.S. Dist.
LEXIS 111627, at *25(E.D.N.Y. Jul. 17,2017)(sanctions may be imposed only ifthere is
"proo/ofan improper purpose or an unreasonable beliefthat a claim has potential merit
(emphasis in original)).

        Accordingly,the Committee finds that the respondent did not violate Rule 3.1.
                   B. Dilatory Tactics (Rule 3.2)

        Rule 3.2 provides that"[i]n representing a client, a lawyer shall not use means that have
 no substantial purpose other than to delay or prolong the proceeding or to cause needless
 expense." As long as a litigation tactic or strategy has at least one "substantial purpose" that is
 legitimate,the conduct will not violate Rule 3.2. The test is objective; whether a reasonable
 lawyer acting in good faith would regard the course ofaction as having some substantial purpose
 beyond delaying the action or imposing needless expense on the adversary.
         The Committee considers whether the respondent violated Rule 3.2 by engaging in
 improper dilatory tactics"—specifically, by filing the Goltdeiner and Kriss actions in 2013,and
 numerous notices ofappeal. Because the respondent filed the Gottdeiner and Kriss actions and
 the notices ofappeal to seek redress ofthe respondent's and his clients' grievances,and to raise
 and preserve their rights, it caimot be concluded on this record that these tactics had no
 substantial purpose other than to delay or prolong the proceeding or to cause needless expense.
 See Rule 3.2.

         Accordingly,the Committee finds that the respondent did not violate Rule 3.2.




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                   C Discourteous Conduct(Rule 3.3(f)(2))

       Rule 3.3(f)(2) prohibits attorneys appearing before a court from "engag[ing] in

undignified or discourteous conduct." "Courts, counsel, and parties are entitled to expect that a

threshold level of decorum will always apply in court proceedings." In re Brizinova, 565 B.R.

488,501 (E.D.N.Y. 2017). Indeed,"[l]awyers, as officers ofthe court, must always be alert to

the rule that zealous advocacy [on] behalfofa client can never excuse contumacious or

disrespectful conduct." Van Iderstine Co. v. RGJContracting Co., Inc., 480 F.2d 454,455(2d

Cir. 1973), "Once a lawyer is admitted to the bar, although he does not surrender his freedom of

expression, he must temper his criticisms in accordance with professional standards of conduct."

Stuart V. Kempthorne,2007 WL 2071605 at *3(E.D.N.Y. 2007)(internal quotation marks

omitted)(quoting U.S. Dist. Courtfor the E. Dist. of Wash. V. Sandlin, 12 F.3d 861,866(9th

Cir. 1993)).

       The conduct that forms the basis for this charge is the respondent's series of aggressive

attacks on Judge Glasser and Judge Cogan,the Second Circuit, and the Eastern District. Rule 3.3

does not bar attorneys from disagreeing, even vigorously, with a judge's ruling or from engaging

in zealous advocacy on behalfof a client. It requires, however, that attorneys do so within the

bounds of legitimate advocacy. The respondent's conduct in this case far exceeded those

bounds.


       "[T]he rule is well settled that an attorney who engages in making false, scandalous, or

other improper attacks upon a judicial officer is subject to discipline." In re Bevans,233 N.Y.S.

439,443(3d Dep't 1929). "To make a public, false and malicious attack on ajudicial officer is

more than an offense against him individually; it is an offense against the dignity and integrity of

the courts and our judicial system. It may bring discredit upon the administration ofjustice



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amongst citizens who have no way of determining the truth of the charges. It tends to impair the

respect and authority ofthe court." Id. The New York Times Co. v. Sullivan, 376 U.S. 254

(1964),"actual malice" standard does not apply to disciplinary proceedings, because disciplinary

proceedings safeguard professional conduct and preserve the orderly administration ofthe

judicial system. In re Holtzman,78 N.Y.2d 184,188-89(Ct. App. 1991). To hold otherwise

"would immunize all accusations, however reckless or irresponsible, from censure as long as the

attorney uttering them did not actually entertain serious doubts as to their truth." Id.

        The respondent violated Rule 3.3 by making unfounded accusations against Judge

Glasser, Judge Cogan,the Eastern District, and the Second Circuit. In his July 16, 2010

declaration filed before Judge Glasser, the respondent characterized the Eastern District as a "star

chamber," an oppressive medieval English court. (Lemer EOF No. 13-13 ^ 1.) The respondent's

efforts to excuse this epithet as "a matter of historicity"[sic] is unpersuasive, especially in the

context ofthis matter,for this was no isolated reference. The respondent's filings are replete

with accusations ofillegality, secrecy and even criminality, which utterly belie his efforts to

reframe his conduct as a harmless historical reference.

       Indeed, the respondent's litany of accusations against and characterizations of Judges

Glasser and Cogan,the entire Eastern District, and the Second Circuit makes the point. The

respondent accused Judge Glasser and the Eastern District of"concoct[ing] a system of private

justice without public accountability," declaring that "[t]his is notjust constitutional amnesia,"

"[tjhis is a constitutional crisis." {Id. ^ 4.) The respondent charged that Judge Glasser acted out

of"pusillanimous fear," and in a blatant and outrageous comparison to Senator Joseph

McCarthy, quoted Joseph Welch's famous rebuke,"Finally, 1 would ask ofthis court one

question: You have done enough. Have you no sense ofdecency sir, at long last? Have you left


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no sense ofdecency? For the only threat to our Union is that a judicial system that would self-

justify and nationalize how it could ever dare operate in secret." (Jd.   11, 20(emphasis in

original).)

        The respondent claimed that Judge Glasser and the Second Circuit "hid[] an entire covert

justice system operating devoid of constitutional legitimacy[,]... including the disgrace of

purporting" to block a U.S. citizen from "report[ing]judicial unlawfulness to Congress." (Lerner

ECF No. 15-5 at 9.) He accused the Second Circuit of issuing orders evidencing "lawlessness"

and "sedition," constituting a scheme to "defraud[]... victims of untold millions of dollars," and

engaging in a "conspiracy to and actual accomplishment ofthe falsification ofjudicial records."

{Id. at 8.) The respondent charged the Second Circuit with giving "its backhand to the

Constitution and concomitant requirements of'normal' sealing in organized crime cases," and

the Eastern District with taking "it farther into the realms oflawlessness than anything we dared

to imagine. And we mean lawlessness." (Lemer ECF No. 15-23 at 12.) He also alleged that the

Eastern District took "unlawful and unethical measures to cover up ... illegal sentencing

schemes." (Lemer ECF No. 15-5 at 4.)

       The list goes on. The respondent accused Judge Cogan of"maintaining an inaccurate

docket," and labeled his issuance ofthe order to show cause as "illegal and imlawful." {Id. at 3.)

He claimed that Judge Glasser's "long dead and illegally empty docket is simply unsustainable

as anything other than participation in the conspiracy of secret courts." {Id. at 15.) The

respondent asserted that Judge Glasser "failed to disqualify [himself] despite Congressional

mandate ... because of...[his] appearance of bias and lack of impartiality," and that"an

objective, informed observer... cannot rationally conclude but that [Judge Glasser] appears to

be in criminal conspiracy with at least [] Sater's lawyers" to deprive the respondent of his and his



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client's rights. (LemerECFNo. 15-22 at 2.) The respondent charged Judge Glasser with

ignoring his arguments:       Judge Glasser ever does hold a hearing to decide whether to

unseal any of the documents, he will ignore all your arguments, appeals, and evidence.

You're doing exactly that, aren't you. Aren't you." {Id. at 10(emphasis in original).) He

accused Judge Glasser of"active, collusive criminal participation ...[which] is enterprise

corruption," and claimed that the Eastern District does "not recognize the public's rights." {Id.;

LemerECFNo. 15-23 at 13-14.)

       The respondent's false and malicious attacks on this Court, the Second Circuit, Judge

Cogan, and Judge Glasser are "an offense against the dignity and integrity ofthe courts and our

judicial system." See In re Bevans, 233 N.Y.S. at 443.

       Accordingly, the Committee finds by clear and convincing evidence that the respondent

violated Rule 3.3(f)(2).

                   D. Illegal Conduct(Rule 3.4(a)(6))

       Rule 3.4(a)(6) prohibits attomeys from "knowingly engag[ing] in ... illegal conduct or

conduct contrary to these Rules." The Committee charged the respondent with violating this mle

"by knowingly engaging in illegal conduct by contravening court orders, disclosing the Sealed

Materials, and attempting to obtain a settlement by threatening further illegal conduct."

(Oberlander ECF No.3 at 6.)

                           I. Contravention ofCourt Orders and Disclosure ofSealed Materials

       Whether the respondent contravened court orders and disclosed the Sealed Materials is

currently the subject of ongoing criminal contempt proceedings. Although the record is clear

that the respondent intentionally flouted multiple court orders, the Committee defers its ruling on

this portion of the Rule 3.4 charge pending the outcome ofthe criminal proceedings.


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                           2. Attempting to Obtain a Settlement by Threatening Illegal Conduct

       The New York Penal Code proscribes larceny by extortion: any act inducing another to

deliver property by instilling a fear that, should the property not be surrendered, the actor will

take some action to harm the victim, including but not limited to: (1)accusing the victim of a

crime;(2)exposing a secret that will harm the victim's reputation, career, and/or personal

relationships, or otherwise subject the victim to hatred, contempt or ridicule. See N.Y. Penal

Code § 155.05(2)(e). "A person is guilty of an attempt to commit a crime when, with intent to

commit a crime, he engages in conduct which tends to effect the commission ofsuch crime."

N.Y. Penal Code § 110.00.

       The Committee finds that the respondent violated Rule 3.4(a)(6) when he threatened to

disseminate the Sealed Materials unless Sater and the other defendants in the Southern District

action agreed to a monetary settlement. The evidence ofthis violation is evident from the

respondent's own communications:

          • "[TJhere are three alternatives here:(a)I file publicly today,(b)I file under seal

               today,(c)He arrange [sic] a tolling agreement with EVERY defendant but Nixon

               Peabody. I don't care how many people he has to get on the phone and how fast

               he has to work. He had years to give back the money and now it's over." (Lemer

               ECFNo. 13-5 at 9.)

          • "[M]y clients are indifferent as to which Defendants write the checks.... [They]

               simply demand for [sic] what they are entitled to: one billion dimes." (Lemer

               ECFNo. 13-22 at 6.)

          • "At this time, plaintiffs will favorably consider settling the entirety of all claims

               known and unknown for their actual damages of$35,000,000.... It is the least



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            amount which plaintiffs would be willing to accept for a quick settlement that

            avoids the dissemination." {Id. at 6 n.3.)

            "If you wish Mr. Sater's activities lawfully kept quiet to any extent, stand still,

            stop filing motions and get out ofthe way so Plaintiffs can try to resolve the case

            before everything uploads to PACER and goes public." (Lemer EOF No. 13-24

            at 1.)

            "The only way to try to prevent worldwide notoriety will be globally stipulated

            sealed confidentiality order accompanying a global settlement." {Id.)

            "If you don't stipulate I'll get it so ordered anyway ... but you'll have wasted

            more time and be that much closer to the time when Judge Buchwald orders this

            public and your client finds this on the front pages everywhere including New

            York,Iceland, Turkey, and Kazakhstan, and all the other plaintiffs

            worldwide       " {Id.)

            "Ifthis case is not settled quickly, it will surely go viral. If you obstruct a

            settlement instead of helping get there, everything will go public with clockwork

            inevitability. This is not a threat, it is mathematics. And it is certain." {Id. at 2.)

           "No power on this earth will much longer prevent as much lawful and legal

            worldwide dissemination ofthis Complaint and every document attached thereto

            or referenced therein as the public and press doing the dissemination think its

            value justifies." {Id.)

           "You already saw what Courthouse News thought ofit, and everything else I file

            about Bayrock, entirely without my or my clients' involvement. Only a stipulated




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               sealed confidential settlement agreement Plaintiffs find acceptable, executed very

               soon,can stop that." {Id.)

          • "Always remember, if I can't settle this in time now, you will have brought this

               about by your decisions, taking the tactical nuclear device I filed in SDNY and

               enhancing it beyond what even I could have, magnifying its yield to that of a

               strategic thermonuclear weapon by dragging in EDNY and that disaster...."

              {Id.)

          • "Sign the litigation standstill and get out of the way.... [I]f you don't

               standstill, if you continue to interfere with service or dissemination, if I see letters,

               motions, or anything else, I will instruct counsel to seek emergency relief. And

               I'll get it. And you'll get the inevitable, concomitant global public news and

               media coverage of everything everywhere." {Id. (emphasis in original).)

          • "Judge Buchwald will be presiding over World War III with coverage likely on

              the front page ofthe New York Law Journal." {Id.)

       The respondent's explanation that he was merely predicting what might happen is not

credible. As the respondent points out, he is an experienced lawyer with multiple degrees. He

knew that public dissemination of obviously sensitive documents would not only violate explicit

court orders, but would expose Sater to retaliation from individuals and organizations about

whom he was providing information, as well as to public humiliation. Making such threats in the

context ofa settlement demand is improper. See Morley v. Ciba-Geigy Corp.,66 F.3d 21 (2d

Cir. 1995)(filing a supplemental complaint containing frivolous claims was "clearly an attempt

to intimidate the defendant into a large settlement" and was therefore an "improper purpose"

imderRule 11(b)(1)).



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       Accordingly,the Committee finds by clear and convincing evidence that the respondent

violated Rule 3.4(a)(6).

                   E. Violations ofthe Rules ofProfessional Conduct(Rule 8.4(a))

       Rule 8.4(a) prohibits attorneys from "violat[ing] or attempt[ing] to violate the Rules of

Professional Conduct, knowingly assist[ing] or induc[ing] another to do so, or do[ing] so through

the acts of another." By virtue ofthe respondent's violation of Rules 3.3(f)(2) and 3.4(a)(6), the

respondent violated Rule 8.4(a).

                   F. Conduct Prejudicial to the Administration ofJustice (Rule 8.4(d))

       Rule 8.4(d) prohibits attorneys firom "engag[ing] in conduct that is prejudicial to the

administration ofjustice."

       The respondent's pattem ofegregious conduct, and his violation of multiple Rules

demonstrates that he engaged in conduct that is prejudicial to the administration ofjustice.

Because his misconduct is part of a "pattem" rather than an isolated incident, a harsher penalty is

warranted. See Roy D. Simon and Nicole Hyland, Simon's New York Rules ofProfessional

Conduct Annotated 1950(2017). His unrelenting pattem offlagrant and discourteous behavior

in violation of Rule 3.3 provides sufficient grounds under the circumstances to find a violation of

Rule 8.4(d). See, e.g., In re Soares,947 N.Y.S.2d 233(4th Dep't 2012)(strident and intemperate

criticism of ajudge violated Rule 8.4(d), notwithstanding counsel ultimately winning summary

judgment on the case).

       Accordingly,the Committee finds by clear and convincing evidence that the respondent

violated Rule 8.4(d).




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                    G. Conduct Reflecting Adversely on Lawyer's Fitness (Rule 8.4(h))

        Rule 8.4(h) prohibits attorneys from "engag[ing] in any other conduct that adversely

reflects on the lawyer's fitness as a lawyer." This rule, described as "broad and vague," and the

"catch-all provision," is often not the sole basis for discipline, but rather "an add-on to other

charges." See Simon,supra^ at 1966.

        The respondent's violations of multiple Rules and his pattern of misconduct as set forth

above reflect negatively on his fitness as a lawyer in this Court. Accordingly, the Committee

finds by clear and convincing evidence that the respondent violated Rule 8.4(h).

        IV.     Sanctions


        The prospect of disciplining an attorney is a difficult task requiring much research and

thought. In making this determination, the Committee has carefully reviewed the voluminous

record ofthese proceedings, the respondent's submissions, and those of Richard Lemer. In the

heat of litigation and in the course of vigorous representation, lawyers may say or do things that

they later regret. The respondent clearly regrets none of his conduct. Quite the contrary, he

doubles down on his accusations, presumably because he is so certain ofthe correctness of his

position. But confidence in one's cause does not give a lawyer license to say and do whatever he

pleases; it does not permit him to threaten adversaries or to insult and demean judges who

disagree with him.'^ Chief Judge Irving Kaufman observed,"Advocacy is an art in which the

unrelenting pursuit oftruth and the most thorough self-control must be delicately balanced," and




  Notably, none ofthe judges before whom the respondent appeared dismissed his arguments out of
hand, even after his and Lemer's scurrilous attacks. All ofthem—kludge Cogan,the Second Circuit, and
Judge Glasser—gave the respondent's arguments careful consideration. The most despicable attacks
were aimed at Judge Glasser, who nevertheless treated the respondent with dignity and fairness. As the
Second Circuit observed,"Judge Glasser, an experienced and able jurist... has shown admirable
patience and forbearance in the face ofextraordinary provocations...." (EOF No. 14-4 at 3.)
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"zealous advocacy ... can never excuse contumacious or disrespectful conduct." Van Iderstine,

480F.2d at 459.


        The respondent's conduct toward Judge Glasser, Judge Cogan, the Eastern District, and

the Second Circuit, as well as his threats in an effort to extort a settlement, warrants a significant

sanction. Accordingly, the respondent is hereby suspended from the practice of law in this Court

for one year commencing on September 1, 2018. The Committee will consider whether

additional sanctions are necessary when the criminal proceedings are concluded.

                                          CONCLUSION


       For the reasons discussed in this opinion, the Committee finds by clear and convincing

evidence that the respondent violated Rules 3.3(f)(2), 3.4(a)(6), 8.4(a), 8.4(d), and 8.4(h) of the

New York Rules of Professional Conduct. The respondent is hereby suspended from the practice

of law in this Court for one year commencing on September 1, 2018.


SO ORDERED.


                                                           s/Ann M. Donnelly
                                                       HonTAhn M. Donnelly, U.S.
                                                       Chair of the Committee on Grievances
                                                       For the United States District Court
                                                       Eastern District of New York


Dated: Brooklyn, New York
        August 13, 2018




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